      Case 1:14-mc-00008-KD-MU Document 199 Filed 11/17/17 Page 1 of 3




                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF ALABAMA
                              SOUTHERN DIVISION

SE PROPERTY HOLDINGS, LLC,              :

      Plaintiff,                        :

vs.                                     :      Misc. No. 14-0008-KD-MU

UNIFIED RECOVERY GROUP, LLC,            :
et al.,
                                        :
      Defendants.

                                       ORDER

      The Court held a hearing in this miscellaneous action today on SE Property

Holdings, LLC’s (“SEPH’s”) motion for contempt (compare Doc. 191 (motion for

contempt) with Doc. 197 (order rescheduling hearing for November 16, 2017)). Upon

consideration of the motion for contempt, which this Court construes as a motion seeking

Green & Sons, LLC’s compliance with an underlying subpoena, the undersigned enters

this order, in accordance with 28 U.S.C. § 636(b)(1)(A) and S.D. Ala. GenLR 72(a)(2)(U),

GRANTING SEPH’s motion for compliance and ORDERING Green & Sons, LLC to

comply with the subpoena not later than December 1, 2017.

      SEPH issued a subpoena to Green & Sons, LLC on August 14, 2017, which was

received by its registered agent on August 21, 2017 (Doc. 191, Exhibit H), seeking

several categories of documents (Doc. 191, Exhibit G). The subpoena instructed Green

& Sons, LLC to produce the identified documents to the offices of Maples & Fontenot by

not later than August 31, 2017. (Id. at 2.) When SEPH received no response or

objections to its subpoena, a motion for contempt was filed on October 4, 2017. (Doc.
      Case 1:14-mc-00008-KD-MU Document 199 Filed 11/17/17 Page 2 of 3



191.) Because the motion created confusion in the undersigned’s mind regarding

whether Green & Sons, LLC was a party to this miscellaneous action, by virtue of the

Charging Orders against judgment debtors Jeff Green and J.S. Lawrence Green’s

membership interests in Green & Sons, LLC (see Doc. 195, at 3), or a non-party (see

id.), the undersigned set this matter down for a hearing (id. at 5).

       During the hearing, counsel for SEPH established to the undersigned’s

satisfaction that Green & Sons, LLC is a non-party to this action, cf. Vision Marketing

Resources, Inc. v. McMillin Group, LLC, 2015 WL 4390071, *3-5 (D. Kan. Jul. 15, 2015)

(in concluding that it had jurisdiction to issue a charging order against the LLC member

interest of a judgment debtor, the court concluded that it did not have to have jurisdiction

over the foreign LLC entity itself and at all times referred to that foreign LLC entity as a

non-party); therefore, SEPH properly subpoenaed documents from non-party Green &

Sons, LLC in accordance with Rule 45 of the Federal Rules of Civil Procedure in aid of

execution of the judgment.1 Compare, e.g., Bel Trading & Consulting, Ltd. v. KNM

Worldwide Services, LLC, 2014 WL 3865952, *2 (S.D. Fla. Aug. 6, 2014) (“’Under [Rule

69(a)], discovery may be had of the judgment debtor or third persons without separate

suit and, if discovery is pursued under the federal rules . . . all the discovery devices of


       1
                It is clear that “[p]ursuant to Federal Rule of Civil Procedure 69, the Judgment
Creditor is entitled to discovery in aid of execution[.]” Pronman v. Styles, 2016 WL 4613384, *3
*S.D. Fla. Aug. 19, 2016); see also Fed.R.Civ.P. 69(a)(2) (“In aid of the judgment or execution,
the judgment creditor . . . may obtain discovery from any person—including the judgment
debtor—as provided in these rules . . . .”). “While Judgment Creditor is entitled to conduct
discovery in aid of execution, such discovery must seek information that is relevant to executing
the judgment against Judgment Debtors.” Pronman, supra, at *3 (citations omitted).



                                               2
      Case 1:14-mc-00008-KD-MU Document 199 Filed 11/17/17 Page 3 of 3



the Rules may be used as in the progress of the action.’”) with Tara Productions, Inc. v.

Hollywood Gadgets, Inc., 2014 WL 1047411, * 3 (S.D. Fla. Mar. 18, 2014) (“Rule 45 is

the method to obtain documents [] from a non-party.”). However, as stated during the

hearing, instead of granting Plaintiff’s motion for contempt (Doc. 191), the Court simply

construes SEPH’s motion for contempt as a motion seeking compliance with the

subpoena, see Patel v. Bhakta, 2015 WL 12159208, *4 (N.D. Ga. Apr. 29, 2015)

(recognizing that Rule 45(g) provides that the Court “may hold in contempt a person

who, having been served, fails without adequate excuse to obey the subpoena or an

order related to it[,]” but that “’it would be rare for a court to use contempt sanctions

without first ordering compliance with a subpoena . . . . Disobedience of such an order

may be treated as contempt.’” (quoting Fed.R.Civ.P. 45 Advisory Committee’s Note to

2013 Amendment (other citation omitted))), and GRANTS the motion by ORDERING

Green & Sons, LLC to comply with the subpoena—that is, it must supply to SEPH all

documents Plaintiff has subpoenaed—not later than December 1, 2017. See Frenkel v.

Acunto, 2014 WL 4680738, *5 (S.D. Fla. Sept. 19, 2014) (“’The scope of post-judgment

discovery is broad[;] the judgment creditor must be given the freedom to make a broad

inquiry to discover hidden or concealed assets of the judgment debtor.’ . . . Additionally,

‘[p]ost-judgment discovery can be used to gain information relating to the existence or

transfer of the judgment debtor’s assets.’”).

       DONE and ORDERED this the 16th day of November, 2017.

                             s/P. BRADLEY MURRAY
                            UNITED STATES MAGISTRATE JUDGE



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